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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:19−cr−00277
                                                          Honorable Edmond E. Chang
Concepcion Malinek
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 27, 2020:


         MINUTE entry before the Honorable Edmond E. Chang as to Concepcion
Malinek: Defendant's unopposed motion to continue trial [44] is granted. Via email, the
courtroom deputy communicated with the parties to schedule a new date. After conferral,
the trial start date is 08/31/2020. Subpoenas must be promptly adjusted or served when
safe to do so. The new pretrial filings deadline is as follows: by 07/13/2020, the parties
shall file the Joint Pretrial Statement, witness lists, exhibits lists, motions in limine, and
the jury instructions and verdict form (visit Judge Chang's website for the details). The
parties shall start promptly on the preparation; these requirements are very detailed and
take advance conferral with one another. Responses to the motions in limine due
07/20/2020. Replies due 07/27/2020. Pretrial conference reset to 08/05/2020 at 1:00 p.m.
Pursuant to 18 U.S.C. 3161(h)(7)(A) and (B), time is excluded from 06/22/2020 through
08/31/2020 because the ends of justice outweigh the interests of the defendant and the
public in a speedy trial given the need for trial preparation. Status hearing of 05/13/2020 is
vacated. Instead, on 07/13/2020, the parties shall file a concise status report stating
whether any active plea negotiations are ongoing and reporting on any other pertinent
matter. Defendant ordered to appear and be transported by U.S. Marshals Service for the
pretrial conference on 08/05/2020. Mailed notice (mw, )




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